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                        Exhibit 1
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                    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                                   Receivership; Civil Court Docket No. 18‐cv‐05587
                                     Reporting Period 10/1/2018 to 12/31/2018

Fund Accounting (See Instructions):
                                                                           Detail          Subtotal       Grand Total
Line 1        Beginning Balance (As of 10/1/2018):                        $210,134.04                       $210,134.04
              Increases in Fund Balance:
Line 2        Business Income
Line 3        Cash and unliquidated assets
Line 4        Interest/Dividend Income                                        $268.26
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation                                   $23,065.43
Line 7        Net Income from Properties                                  $435,755.36
Line 8        Miscellaneous ‐ Other¹                                       $18,258.44
                Total Funds Available (Line 1‐8):                                                          $687,481.53
              Decrease in Fund Balance:
Line 9      Disbursements to Investors
Line 10     Disbursements for receivership operations²                        ($344.39)
   Line 10a Disbursements to receiver or Other Profesionals³               ($21,942.87)
   Line 10b Business Asset Expenses⁴                                      ($357,848.90)
   Line 10c Personal Asset Expenses
   Line 10d Investment Expenses
   Line 10e Third‐Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third‐Party Litigation Expenses                                              $0.00
   Line 10f Tax Administrator Fees and Bonds
  Line 10g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                             ($380,136.16)
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator……………………………………………………….….
                       Independent Distribution Consultant (IDC)…………………
                       Distribution Agent……………………….……………………………………
                       Consultants………………………………………………….…………………….
                       Legal Advisers…………………………………………………………….……..
                       Tax Advisers……………………………………………………………………….
                  2. Administrative Expenses
                  3. Miscellaneous
               Total Plan Development Expenses                                                   $0.00
  Line 11b       Distribution Plan Implementation Expenses:
                   1. Fees:
                       Fund Administrator…………..…………….…………………………
                       IDC……………………………………………………………………………..
                       Distribution Agent……………………….………………..…..………
                       Consultants………………………………………………….…………….

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                 STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                                Receivership; Civil Court Docket No. 18‐cv‐05587
                                  Reporting Period 10/1/2018 to 12/31/2018

                    Legal Advisers………………………………………….………………………..
                    Tax Advisers……………………………………………………..………………..
                 2. Administrative Expenses
                 3. Investor identification
                    Notice/Publishing Approved Plan………………………………….
                    Claimant Identification……………………………………………………
                    Claims Processing……………………………………………………………..
                    Web Site Maintenance/Call Center……………………………….
                 4. Fund Adminstrator Bond
                 5. Miscellaneous
                 6. Federal Account for Investor Restitution
                   (FAIR) reporting Expenses
                 Total Plan Implementation Expenses
                 Total Disbursement for Distribution Expenses Paid by the Fund        $0.00
Line 12     Disbursement to Court/Other:
   Line 12a     Investment Expenses/Court Registry Investment
                System (CRIS) Fees
   Line 12b     Federal Tax Payments
              Total Disbursement to Court/Others:
              Total Funds Disbursed (Lines 1‐9):                                                  ($144,679.61)
Line 13         Ending Balance (As of 12/31/2018):                                                $307,345.37
Line 14     Ending Balance of Fund ‐ Net Assets:
   Line 14a    Cash & Cash Equivalents                                                            $307,345.37
   Line 14b    Investments (unliquidated Huber/Hubadex investments)
   Line 14c    Other Assets or uncleared Funds
               Total Ending Balance of Fund ‐ Net Assets                                          $307,345.37

               ¹ Refund of retainers from various law firms
               ($17,645.60); refund of employment tax from payroll
               service ($612.84).
               ² Document production fees to banks for records.
               ³ Payments to service providers for internet/web services
               ($8,557.16), payment for services performed by an
               independent contractor ($12,535.71), software licenses
               ($850.00).
               ⁴ Payroll ($17,371.80); employment taxes ($8,288.52);
               insurance ($249,256.18); payroll service ($384.00);
               property taxes ($81,248.40); property fines ($1,300.00).




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      STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. ‐ Cash Basis
                     Receivership; Civil Court Docket No. 18‐cv‐05587
                       Reporting Period 10/1/2018 to 12/31/2018

                                          Receiver:
                                                                              /s/ Kevin B. Duff
                                                                (Signature)

                                                            Kevin B. Duff, Receiver EquityBuild, Inc., et al.
                                                                (Printed Name)

                                                    Date:                     February 28, 2019




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                        Exhibit 2
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                             EQUITYBUILD, INC. RECEIVERSHIP
                                    Case No. 18-cv-05587
                                       4th Quarter 2018
                            Schedule of Receipts and Disbursements

 Beginning Balance
 10/1/18                                                                       $210,134.04

 RECEIPTS

                     Received From                         Amount

                     Shaun Cohen                               $23,065.43

                     Refunds of EB law firm retainers          $17,645.60

                     Net rental income                        $435,755.36

                     Paychex (employment tax refund)                $612.84
                     Interest earned on Receiver's
                     account                                        $268.26



                     TOTAL RECEIPTS:                                           $687,481.53

 DISBURSEMENTS

                     Paid To                               Amount

                     EquityBuild, Inc. employees              ($17,371.80)

                     State and Federal Treasury
                     Departments (employment taxes)            ($8,288.52)

                     FIRST Insurance Funding Corp.¹          ($248,175.43)
                     The Hartford (workers' comp.
                     insurance)                                ($1,080.75)

                     Paychex (payroll services)                  ($384.00)

                     Bank of America²                               ($45.39)

                     Wells Fargo²                                ($299.00)
                     IT & Web Marketing Services
                     (work performed by an
                     EquityBuild independent
                     contractor from August 17, 2018
                     through September 30, 2018)               ($8,557.16)
                     Trinity Inspection & Restoration
                     (work performed by EquityBuild
                     independent contractor from
                     August 18, 2018 through August
                     31, 2018)                                ($12,535.71)




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                               EQUITYBUILD, INC. RECEIVERSHIP
                                      Case No. 18-cv-05587
                                         4th Quarter 2018
                              Schedule of Receipts and Disbursements
                     Applied Business Software
                     (software licenses)                      ($850.00)
                     Cook County Clerk (property
                     taxes)                                ($81,248.40)

                     City of Chicago, Dept. of Finance
                     (payment of fines relating to
                     dismissal of code violations)           ($1,300.00)


                     TOTAL DISBURSEMENTS:                                  ($380,136.16)

                     Grand Total Cash on Hand at
                     12/31/18:                                             $307,345.37


 ¹ Installments on premium finance agreement

 ² Document production fees




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                        Exhibit 3
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                                              Master Asset List
                                   Receiver’s Account (as of 12/31/2018)
Institution                            Account Information              Amount
AXOS Fiduciary Services                Checking                                                    $307,345.37

                                     Receivership Defendants’ Accounts
Institution                   Account Information                    Current Value¹ Amount
                                                                                    Transferred to
                                                                                    Receiver’s
                                                                                    Account
Wells Fargo                   Checking (53 accounts in the names of      $5,795.03³    $105,870.94⁴
                              the affiliates and affiliate entities
                              included as Receivership Defendants)²
Wells Fargo¹                  Checking (account in the names of                         $23,065.43⁵
                              Shaun Cohen and spouse)
Byline Bank                   Checking (2 accounts in names of           $21,828.73
                              Receivership Defendants)
                                                                                                         Total:
                                                                                                   $128,936.37

                                EquityBuild Real Estate Portfolio (in Illinois)
For a list of the properties within the EquityBuild portfolio identified by property address, alternative
address (where appropriate), number of units, and owner, see Exhibit 1 to the Receiver’s First Status
Report, Docket No. 107.

                                    Other, Non-Illinois Real Estate
Description                                             Appraised Market Value
Single family home in Naples, Florida                                                         ±$1,400,000.00⁶

                                                                Approximate mortgage amount: $500,000.00
                                                               Approximate value less mortgage: $900,000.00

Single family home in Plano, Texas                                                               ±$450,000.00

                                                                 Approximate mortgage amount: $400,000.00
                                                                Approximate value less mortgage: $50,000.00

Plot of vacant land in Houston, Texas                                                        To be determined


     ¹ The Current Value reflects the approximate balance in the frozen bank accounts.
     ² The Receiver is investigating whether each of these accounts is properly included within the
     Receivership Estate.
     ³ $5,795.03 reflects the value as of 9/30/18. On February 26, 2019, Wells Fargo disclosed to the
     Receiver that there has been activity in certain accounts covered by the Court’s asset freeze
     order. Without notice to the Receiver or his prior authorization, it appears Wells Fargo has
     allowed funds to be deposited, withdrawn, and charged off and closed in certain of these
     accounts. In most instances, these accounts hold de minimis amounts. As of this writing, the
     best information available to the Receiver suggests that the total amounts on deposit has actually
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increased by approximately $10,000. Wells Fargo has not provided an explanation as to why the
freeze on these accounts has not been consistently maintained. The Receiver intends to gather
further information from Wells Fargo in the coming days.
⁴ This amount was transferred to the Receiver’s Account as of 8/27/18, and is included as part of
the total balance of the Receiver’s Account as of 12/31/18.
⁵ This amount was transferred to the Receiver’s Account as of 11/8/18, and is included as part of
the total balance of the Receiver’s Account as of 12/31/18.
⁶ Source: www.zillow.com




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